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                                           1 Dariush G. Adli, Esq. (SBN: 204959)
                                                adli@adlilaw.com
                                           2
                                               Drew H. Sherman, Esq. (SBN: 237045)
                                           3    drew.sherman@adlilaw.com
                                               ADLI LAW GROUP, P.C.
                                           4   444 South Flower Street, Suite 3100
                                           5   Los Angeles, California 90071
                                               Telephone: 213-623-6546
                                           6   Facsimile: 213-623-6554
                                           7
                                               Attorneys for Boost Beauty, LLC
                                           8

                                           9
                                                                    UNITED STATES DISTRICT COURT
                                          10
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                          11
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                                          12 BOOST BEAUTY, LLC, a                      Case No. 2:18-cv-02960-CAS-E
                                          13 California limited liability
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                                               company,
                                          14                                           THIRD AMENDED COMPLAINT
                                          15
                                                                                       FOR DAMAGES
                                                           Plaintiff,
                                          16
                                                     v.
                                          17

                                          18
                                               WOO SIGNATURES, LLC, a
                                               California limited liability company;
                                          19
                                               TADEH BOOGHOSIANSSARDABI,
                                          20   an individual; FARSHID KARAMZAD
                                          21   GOFLSAZ, an individual; ARASH
                                               SEDIGHI, an individual; and DOES 1-
                                          22
                                               10, inclusive,
                                          23

                                          24               Defendants.

                                          25

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                                          27

                                          28

                                                                  THIRD AMENDED COMPLAINT FOR DAMAGES
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                                           1        Plaintiff, Boost Beauty, LLC, (“Plaintiff”) complains and alleges the following
                                           2 amended claims against Defendants, WOO SIGNATURES, LLC (“WS”), TADEH

                                           3 BOOGHOSIANSSARDABI (“TB”), FARSHID KARAMZAD GOFLSAZ (“FKG”),

                                           4 and ARASH SEDIGHI (“AS”) (collectively “Defendants”):

                                           5                                JURISDICTION AND VENUE
                                           6        1.     This court has jurisdiction over these claims pursuant to 28 U.S.C. §§
                                           7 1331 and 1367.

                                           8        2.     Plaintiff is informed and believes, and thereon alleges that all Defendants
                                           9 are residents of California.

                                          10        3.     Defendants’ principal place of business is located in Los Angeles, CA.
                                          11        4.     Venue is proper in the Court pursuant to 28 U.S.C. § 139(b) as this is the
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                                          12 district where Defendants reside, as well as the district that was substantially affected

                                          13 by the Defendants’ actions.
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                                          14        5.     Upon information and belief, each Defendant was the agent, servant,
                                          15 representative and/or employee of each of the other Defendants, and that in doing the

                                          16 things hereinafter alleged, each Defendant was acting within the course and scope of

                                          17 the Defendant’s authority, with the permission, knowledge, consent and ratification

                                          18 of each of the other Defendants.

                                          19        6.     Upon information and belief Defendants, and each of them, conspired
                                          20 and agreed among themselves to the acts complained of herein and were, in doing the

                                          21 acts complained of herein, acting pursuant to said conspiracy, and that each of the

                                          22 Defendants sued herein is jointly and severally responsible and liable to Plaintiff for

                                          23 the damages alleged herein.

                                          24                                        PARTIES
                                          25        7.     Plaintiff is a California limited liability company with its principal place
                                          26 of business in Glendale, CA.

                                          27        8.     WS is a California limited liability company with its principal
                                          28 place of business in Glendale, Los Angeles County, CA.
                                                                                      1
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                                           1        9.     TB, KFG, and AS are the principals of WS, and are individuals all
                                           2 currently residing in Los Angeles County.

                                           3        10.    Plaintiff is ignorant of the true names and capacities, whether
                                           4 individual, corporate, associate, partnership, or otherwise of each of the Defendants

                                           5 sued herein as Does 1 through 10, inclusive, and therefore sues said Defendants by

                                           6 such fictitious names. Such unnamed defendants include, but are not limited to: (a)

                                           7 officers and/or directors who acted in concert with Defendants against Plaintiff; (b)

                                           8 other entities affiliated with Defendants that acted in concert with Defendants

                                           9 against Plaintiff; and (c) individuals or entities with whom Defendants acted in

                                          10 concert with Defendants against Plaintiff. Plaintiff reserves the right to name such

                                          11 Does as discovery from Defendants reveal their identities.
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                                          12        11.    Plaintiff is informed and believes and thereon alleges that each of the
                                          13 Defendants named herein as a Doe was and is negligently, intentionally, or both
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                                          14 negligently and intentionally responsible in some manner for the occurrences herein

                                          15 alleged, and the injuries and damages suffered by Plaintiff as herein alleged were

                                          16 the direct and proximate result of, and caused by the acts and omissions of the

                                          17 Defendants WS, TB, KFG, and AS, as applicable.

                                          18        12.    Defendants TB, KFG, and AS including the applicable Doe
                                          19 Defendants, are alleged to be co-conspirators with each other, in that each agreed to

                                          20 participate and participated in the furtherance of the objective of a civil wrong as

                                          21 alleged in this Complaint.

                                          22        13.    Defendant WS including the applicable Doe Defendants, are alleged to
                                          23 be co-conspirators with each other, in that each agreed to participate and

                                          24 participated in the furtherance of the objective of a civil wrong as alleged in this

                                          25 Complaint.

                                          26        14.    Plaintiff is informed and believes and thereon alleges that each
                                          27 Defendant named in the two (2) different conspiracies mentioned in paragraphs 12

                                          28 and 13 above, entered into a conspiracy and agreement with the other respective
                                                                                      2
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                                           1 Defendants and/or subsequently joined said conspiracy and ratified the prior acts

                                           2 and conduct of the Defendants who had previously entered into said conspiracy.

                                           3 Plaintiff is currently unaware of when each respective Defendant joined said

                                           4 respective conspiracy and, upon information and belief, alleges that the respective

                                           5 Defendant joined said respective conspiracy and, upon information and belief,

                                           6 alleges that all respective Defendants have knowingly, maliciously, and willfully

                                           7 entered into said respective conspiracy, which continues until this day.          The
                                           8 purposes of these ongoing conspiracies include, but are not limited to, the wrongs

                                           9 alleged herein. All respective Defendants’ acts and failures to act as alleged herein

                                          10 were perpetrated in furtherance of the ongoing respective conspiracy to which they

                                          11 entered.
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                                          12        15.    Plaintiff is informed and believes and thereon alleges that, at all times
                                          13 material herein, Defendant WS was the agent, employee and/or working in concert
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                                          14 with the other respective DOE Co-Defendants and was acting within the course and

                                          15 scope of such agency, employment and/or concerted activity.

                                          16        16.    Plaintiff is informed and believes and thereon alleges that, at all times
                                          17 material herein, Defendants TB, KFG, and AS were the agents, employees and/or

                                          18 working in concert with the other respective DOE Co-Defendants and was acting

                                          19 within the course and scope of such agency, employment and/or concerted activity

                                          20        17.    To the extent that certain acts and omissions were perpetrated by
                                          21 certain Defendants, the remaining respective Defendant or Defendants confirmed

                                          22 and ratified said acts and omissions, as applicable.

                                          23        18.    Whenever and wherever reference is made in this Complaint to any act
                                          24 by a respective Defendant or Defendants, such allegations and reference shall also

                                          25 be deemed to mean the acts and failures to act of each other respective Defendant

                                          26 acting individually, jointly, and severally, as applicable.

                                          27        19.    Whenever and wherever reference is made to individuals who are not
                                          28 named as Plaintiff or Defendants in this Complaint but were employees/agents of
                                                                                       3
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                                           1 each other Defendant, such individuals acted on behalf of each Defendant within

                                           2 the scope of their employment.

                                           3        20.    At all times relevant, each respective Defendant was the employer,
                                           4 joint employer, and/or agent of each of the other respective Co-Defendants, as

                                           5 applicable.

                                           6        21.    Plaintiff is informed and believes and thereon alleges that respective
                                           7 Defendants were associated or affiliated with one or more of the other respective

                                           8 DOE Defendants in connection with matters and conduct sued upon herein, as

                                           9 applicable. Plaintiffs allege that each respective Defendant was acting with one or

                                          10 more of the other respective DOE Defendants pursuant to a common scheme, course

                                          11 of action, enterprise or conspiracy and each respective Defendant is liable to
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                                          12 Plaintiff for the events happenings and damages alleged herein, as applicable.

                                          13        22.    Plaintiff is informed and believes, and thereon alleges that Defendants
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                                          14 TB, KFG, and AS, and DOES 1 through 5 (“Individual Defendants”) are, and at all

                                          15 relevant times herein were, owners of all or a controlling interest of WS, and DOES

                                          16 6 through 10 (“Entity Defendants”), and that there existed between the Individual

                                          17 Defendants and Entity Defendants, and each of them, a unity of interest and

                                          18 ownership, such that any individuality or separateness of such Defendants never

                                          19 existed or has ceased, and that the Entity Defendant are the alter egos of the

                                          20 Individual Defendants, and each other.

                                          21        23.    Plaintiff is informed and believes and thereon alleges that Individual
                                          22 Defendants dominated and controlled the business affairs of the Entity Defendants,

                                          23 and each of them. As a result, adherence to the fiction of a separate existence

                                          24 between such Defendants would permit an abuse of the corporate privilege and

                                          25 would sanction fraud and promote injustice.

                                          26        24.    Plaintiff is informed and believes and thereon alleges that the Court
                                          27 can pierce the corporate veil of the Entity Defendants and hold Individual

                                          28 Defendants individually liable because of the improper activities as follows:
                                                                                        4
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                                           1               a.       failed to maintain or observe corporate formalities when they
                                           2 violated Corporate By Laws by refusing to hold proper Board of Director meetings

                                           3 and refused to hold Annual Shareholder Meetings;

                                           4               b.       failed to maintain or observe corporate formalities when they
                                           5 prevented shareholders to regularly elect the Board of Directors in violation of the

                                           6 Corporate By Laws;

                                           7               c.       failed to maintain or observe corporate formalities when they
                                           8 failed to keep minutes or file corporate tax returns;

                                           9               d.       Individual Defendants commingled corporate fund with their
                                          10 personal funds;

                                          11               e.       Individual Defendants used their residence as the Entity
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                                          12 Defendants' business addresses; and

                                          13               f.       Individual Defendants under-capitalized the Entity Defendants.
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                                          14        25.    Based upon the foregoing, Plaintiff is informed and believes, and
                                          15 thereon alleges that the Entity Defendants are the alter egos of the Individual

                                          16 Defendants and each other, therefore, Plaintiff may proceed against all such

                                          17 respective Defendants directly, as they are each liable jointly and severally for any

                                          18 and all damages suffered by Plaintiff.

                                          19        26.    Whenever       appearing   in   this   Complaint,   all   references   to
                                          20 “Defendant(s)” is intended to be, and shall be deemed, a reference to all such

                                          21 respective Defendants in this action, and each of them, named and unnamed,

                                          22 including all fictitiously named Defendants.

                                          23                               GENERAL ALLEGATIONS
                                          24        27.    In or around 2016, Plaintiff began a business procuring, advertising, and
                                          25 distributing, and selling an eye-lash enhancement product (the “Product”), called

                                          26 BoostLash (the “Mark”), that provided the consumer with eye-lash enhancement that

                                          27 had never been seen or experienced previously.

                                          28        28.    The Product became a highly sought-after commodity as there was no
                                                                                           5
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                                           1 product that could compete with the results it generated for the consumer while still

                                           2 only costing the consumer a relatively nominal amount of money. Because of the low

                                           3 cost of the Product, it was accessible to consumers from all socio-economic classes.

                                           4        29.    However, Plaintiff is informed and believes, and thereon alleges, that
                                           5 because of the low cost of the Product, the consumers of the product are generally not

                                           6 sophisticated shoppers exercising a high degree of care when shopping for the

                                           7 Product.

                                           8        30.    Because of the universal access to all levels of wealth, the Product was
                                           9 in high demand and the Mark garnered notoriety as a source identifier for the Plaintiff.

                                          10        31.    More importantly, Plaintiff is informed and believes, and thereon
                                          11 alleges, that consumers of the Product are familiar with the Mark, and now enter the
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                                          12 Mark as a search term in search engines, such as Yahoo! Or Google, when looking

                                          13 for their next purchase of the Product.
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                                          14        32.    Plaintiff has invested a lot of money, time, and hard work in the venture
                                          15 and has achieved success in having the Mark.

                                          16        33.    Plaintiff applied for and obtained a registration for trademark to
                                          17 “BoostLash” with the United State Patent and Trademark Office.           Registration No.
                                          18 5374537.

                                          19        34.    Part of the time, money, and work the Plaintiff invested in the Product
                                          20 and the Mark went to creating advertisements with specific words and language in a

                                          21 specific order which, as the Plaintiff figured out, would facilitate more end users to

                                          22 its website and, ultimately, to purchase the Product.

                                          23        35.    The value of the advertisements became so coveted that the Plaintiff has
                                          24 applied for copyright registrations in the advertisements with the U.S. Copyright

                                          25 Office in the Library of Congress.

                                          26        36.    Plaintiff filled out and filed the application for one of its advertisements,
                                          27 paid the filing fee, and received an application number for registration of copyright in

                                          28 March 2018, 1-6462698121.         The Plaintiff is waiting on the copyright office to
                                                                                          6
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                                           1 confirm registration.

                                           2        37.    The application for copyright registration, and the specific original
                                           3 expression in the tangible medium of an advertisement is attached hereto as Exhibit

                                           4 A.

                                           5        38.    As the success of the Product and the Mark became apparent, a principal
                                           6 of the Plaintiff, Yasha, happened to be living with AS, and had been for over five (5)

                                           7 years. This was in or around Summer 2017.

                                           8        39.    AS would regularly ask questions about the Plaintiff’s business, the
                                           9 business model, the strategies being employed, the Product, the Mark, the

                                          10 advertisements, and where to procure the Product.

                                          11        40.    As the questions were the type that would reveal the innerworkings of
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                                          12 Plaintiff’s business, it was made to be understood to AS by Plaintiff’s principal that

                                          13 the information being provided would remain confidential and only for the benefit of
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                                          14 the Plaintiff, and that AS would not take such information to start his own competing

                                          15 business.    Plaintiff’s principal let AS know that such an act would require an
                                          16 agreement between AS, and any parties working with him, and the Plaintiff.

                                          17        41.    Plaintiff is informed and believes, and thereon alleges, that it was at that
                                          18 point that AS decided he, along with FKG and TB, would misappropriate the

                                          19 proprietary information being communicated to AS by Plaintiff’s principal, in good

                                          20 faith as a curious roommate of over five years, by making the fraudulent

                                          21 representations that the information would remain confidential and not be used to start

                                          22 a competing business against Plaintiff.

                                          23        42.    Plaintiff is informed and believes, and thereon alleges, that in November
                                          24 2017, AS commenced taking actions exactly opposite of what he represented to

                                          25 Plaintiff’s principal he would not do.

                                          26        43.    Plaintiff is informed and believes, and thereon alleges, that in November
                                          27 2017, the Defendants used the information AS nefariously acquired from Plaintiff and

                                          28 made a deal with the manufacturer of the Product so the Defendants could sell it too,
                                                                                       7
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                                           1 purchased the domain name for WooLash, copied the Plaintiff’s advertisement (but

                                           2 ran the advertisement only outside of California in the hopes Plaintiff would not see

                                           3 it), and purchased the Google AdWords “Boost” and “Lash,” used the words “Boost”

                                           4 and “Lash” together in that order as a search engine advertisement to drive traffic to

                                           5 their website, and sold the exact same, but competing, product.

                                           6        44.    Plaintiff is informed and believes, and thereon alleges that the
                                           7 information surrounding the expression Defendants copied from the Plaintiff (the

                                           8 balance of the advertisement) were intentionally unlabeled and source-ambiguous in

                                           9 that an ordinary consumer of the Product would not be able to tell, unless investigating

                                          10 closely, that the advertisement did not belong to Plaintiff.

                                          11        45.    Plaintiff is informed and believes, and thereon alleges, that Defendants
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                                          12 purposefully underhandedly gained information from Plaintiff, struck a deal with the

                                          13 manufacturer of the Product, called their product something similar to the Mark, used
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                                          14 “Boost” and “Lash” for their Google AdWords in the order of “Boost” and “Lash”

                                          15 together as a search engine advertisement, copied Plaintiff’s advertisement, and made

                                          16 balance of their advertisement surrounding the expression they copied from the

                                          17 Plaintiff source-ambiguous so that when the consumer of the Product, who is

                                          18 unsophisticated regarding the Product because of the low price point, does a search

                                          19 for “BoostLash,” intending to find Plaintiff’s website, the context of the Defendants’

                                          20 uses of the Mark, as described above, will confuse the consumer to believing

                                          21 Defendants are or are endorsed by Plaintiff so that the consumers purchase the product

                                          22 from the Defendants and not the Plaintiff.

                                          23                             FIRST CAUSE OF ACTION
                                          24                           COPYRIGHT INFRINGEMENT
                                          25                                (Against All Defendants)
                                          26        46.    All of the allegations contained within paragraphs 1 through 45 are
                                          27 hereby incorporated by reference as if fully set out herein.

                                          28        47.    Plaintiff is the author of an advertisement that is subject to a copyright
                                                                                          8
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                                            1 application submitted to the U.S. Copyright Office (the “CC Work”) as a work made

                                            2 for hire.

                                            3        48.    In or around March 2018, Plaintiff filed an application for registration
                                            4 for the CC Work, paid the application filing fee, and received a confirmation of the

                                            5 filing back from the Copyright Office.

                                            6        49.    Plaintiff is informed and believes, and thereon alleges, that in November
                                            7 2017, for a commercial purpose, Defendants knowingly, wrongfully and without

                                            8 permission copied word for word the CC Work and used the copied CC Work in its

                                            9 own advertisements for the purpose of confusing consumers into purchasing products

                                           10 from them.

                                           11        50.    Without authorization, the Defendants used, copied, republished,
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                                           12 distributed and displayed to the public worldwide their copy of the CC Work on many

                                           13 different websites and search engines in violation of 17 U.S.C. §504.
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                                           14        51.     Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           15 made the copy of the CC Work with the pre-existing knowledge that such original

                                           16 expression was owned by Plaintiff.

                                           17        52.    Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           18 knew, or at least recklessly disregarded the likelihood, that their use of their copy of

                                           19 the CC Work constituted copyright infringement.

                                           20        53.    Defendants’ intentional infringing activities have continued and will
                                           21 continue to be the detriment of Plaintiff, and loss and injury to Plaintiff’s business in

                                           22 an amount to be proved at trial, and threaten to increase such loss and injury, unless

                                           23 such activities are enjoined by this Court and Defendants are required to cease their

                                           24 unauthorized use of their copy of the CC Work.

                                           25        54.    Plaintiff is without adequate remedy at law to prevent the continued
                                           26 unlawful acts of Defendants herein set forth and said acts of Defendants have resulted

                                           27 and will result in irreparable damage to Plaintiff unless Defendants’ acts of

                                           28 infringement are enjoined by this Court.
                                                                                           9
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                                            1          55.   By reason of the acts of Defendants alleged herein, Plaintiff has suffered
                                            2 actual damages in an amount to be proven at trial.

                                            3          56.   Due to Defendants’ acts as alleged above, Defendants have obtained
                                            4 profits, and AS, TB, and KFG have obtained distributions, they would not otherwise

                                            5 have realized but for their infringement of the CC Work.

                                            6          57.   Pursuant to the Copyright Act, Plaintiff is entitled to its actual damages
                                            7 and disgorgement of Defendants’ profits attributable to Defendants' infringement of

                                            8 the CC Work in an amount to be proven at trial.

                                            9                            SECOND CAUSE OF ACTION
                                           10                          CONTRIBUTORY INFRINGEMENT
                                           11                                (Against All Defendants)
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                                           12          58.   All of the allegations contained within paragraphs 1 through 57 above
                                           13 are hereby incorporated by reference as if fully set out herein.
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                                           14          59.   TB, AS, and FKG, and each of them, were aware that Defendants were
                                           15 infringing the CC Work by way of their position of control in Defendants.

                                           16          60.   TB, AS, and FKG materially contributed to and induced Defendants’
                                           17 infringing activity by supplying the means and resources for the infringement and by

                                           18 directing the infringing activities of Defendants.

                                           19          61.   By reason of the acts of TB, AS, and FKG alleged herein, Plaintiff has
                                           20 suffered actual damages in an amount to be proven at trial.

                                           21          62.   Due to TB, AS, and FKG’s acts as alleged above, Defendants has
                                           22 obtained profits it would not otherwise have realized but for its contribution to the

                                           23 infringing activities.

                                           24          63.   Pursuant to the Copyright Act, Plaintiff is entitled to recovery of its
                                           25 actual damages and disgorgement of Defendants' profits attributable to TB, AS, and

                                           26 FKG 's contributions to the infringement of the designs in an amount to be proven at

                                           27 trial.

                                           28 / / /
                                                                                           10
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                                            1                             THIRD CAUSE OF ACTION
                                            2                           VICARIOUS INFRINGEMENT
                                            3                               (Against All Defendants)
                                            4        64.    All of the allegations contained within paragraphs 1 through 63 above
                                            5 are hereby incorporated by reference as if fully set out herein.

                                            6        65.    TB, AS, and FKG, and each of them, controlled the Defendants'
                                            7 infringing activities by way of TB, AS, and FKG’s position of control in Defendants.

                                            8        66.    At any point TB, AS, and FKG could have stopped the infringing
                                            9 activities of Defendants by way of TB, AS, and FKG’s position of control in

                                           10 Defendants.

                                           11        67.    Due to TB, AS, and FKG's acts as alleged above, Defendants has
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                                           12 obtained profits directly it would not otherwise have realized but for the infringing

                                           13 activities.
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                                           14        68.    By reason of the acts of TB, AS, and FKG alleged herein, Plaintiff has
                                           15 suffered actual damages in an amount to be proven at trial.

                                           16        69.    Pursuant to the Copyright Act, Plaintiff is entitled to its actual damages
                                           17 and disgorgement of Defendants' profits attributable to TB, AS, and FKG's

                                           18 contributions to the infringement of the designs in an amount to be proven at trial.

                                           19                          FOURTH CAUSE OF ACTION
                                           20                               INTENTIONAL FRAUD
                                           21                                      (Against AS)
                                           22        70.    All of the allegations contained within paragraphs 1 through 69 above
                                           23 are hereby incorporated by reference as if fully set out herein.

                                           24        71.    As discussed, AS from his living situation as a roommate with Plaintiff’s
                                           25 Principal, Yasha, he inquired about the success of Plaintiff’s business and gained that

                                           26 information by representing to Yasha, Plaintiff’s principal verbally in a face to face

                                           27 conversation in the Summer of 2017 that he would keep the information confidential

                                           28 and would not use it to start a competing business.
                                                                                         11
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                                            1         72.   Plaintiff is informed and believes, and thereon alleges, that AS always
                                            2 intended to use the information provided by Yasha, Plaintiff’s principal, to start a

                                            3 competing business, and knew all along that his representations to Yasha were false.

                                            4         73.   Plaintiff is informed and believes, and thereon alleges, that over the next
                                            5 few months, TB, AS, and FKG carried out the above-mentioned misappropriation.

                                            6         74.   TB, AS, and FKG knew such representations were false and intended
                                            7 that Plaintiff rely upon them given their plan to misappropriate the information under

                                            8 the guise of an interested and loyal roommate.

                                            9         75.      Plaintiff was unaware that the above-referenced representations were
                                           10 false, and Plaintiff could not, in the exercise of reasonable diligence, have discovered

                                           11 them.
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                                           12         76.   Given the very close relationship between and among roommates,
                                           13 Plaintiff reasonably relied on the above-referenced representations.
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                                           14         77.      It was only after Defendants were found to be copying the CC Work and
                                           15 TB, AS, and FKG were visiting Plaintiff's websites daily that Plaintiff became aware

                                           16 of the deceit.

                                           17         78.      As a direct and proximate cause of the above-referenced representations,
                                           18 and     Plaintiff’s reasonable reliance thereon, Plaintiff was harmed by the
                                           19 misappropriation of the information.

                                           20         79.      As a direct and proximate result of the misappropriation, Plaintiff has
                                           21 been damaged in an amount to be proven at trial, but not less than $1,000,000.

                                           22         80.   Plaintiff is informed and believes, and thereon alleges, that the aforesaid
                                           23 conduct of Defendants was part of an act of intentional deceit with the intention and

                                           24 effect of causing Plaintiff loss and injury, in conscious disregard of Plaintiff’s rights

                                           25 and interest, so as to justify an award of punitive damages.

                                           26 / / /

                                           27 / / /

                                           28 / / /
                                                                                           12
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                                            1                             FIFTH CAUSE OF ACTION
                                            2                        BREACH OF IMPLIED CONTRACT
                                            3                                (Against All Defendants)
                                            4         81.   All of the allegations contained within paragraphs 1 through 80 above
                                            5 are hereby incorporated by reference as if fully set out herein.

                                            6         82.   As set forth above, AS inquired of his roommate of over five years,
                                            7 Yasha, a principal of Plaintiff, as to the inner-workings of Plaintiff and its success in

                                            8 the market.

                                            9         83.   Based upon the trust one acquires in a roommate of over five years,
                                           10 Plaintiff’s principal disclosed to AS the information being asked about. However, as

                                           11 an offer in order to provide the information, Plaintiff’s principal made it clear to AS
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                                           12 that such information was confidential and proprietary, and the information could not

                                           13 be used, by AS or any future partners, to start a business that would compete with
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                                           14 Plaintiff, or, otherwise, Plaintiff would have to be paid by AS, or his partners, for the

                                           15 use of such information.

                                           16         84.   Plaintiff is informed and believes, and thereon alleges, that AS accepted,
                                           17 acknowledged, and agreed with the conditions for disclosure of the information.

                                           18         85.   Plaintiff’s principal answered AS’ questions and provided the
                                           19 information central to Plaintiff’s success.

                                           20         86.   Plaintiff is informed and believes, and thereon alleges that AS and his
                                           21 partners, TB and KFG, breached the agreement made with Plaintiff’s principal and

                                           22 used the information provided to start a business that would directly compete with

                                           23 Plaintiff.

                                           24         87.   Plaintiff has suffered damages in the form of lost income from the
                                           25 Defendants’ breach, which is currently unknown but will be determined at trial.

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                                            1                             SIXTH CAUSE OF ACTION
                                            2    FEDERAL TRADEMARK INFRINGEMENT AND COUNTERFEITING
                                            3                                    (15 U.S.C. § 1114)
                                            4                                (Against All Defendants)
                                            5        88.    Plaintiff repeats and re-alleges the allegations of paragraphs 1 - 87 of this
                                            6 Complaint as if set forth fully herein.

                                            7        89.    This is a claim for trademark infringement and counterfeiting arising
                                            8 under 15 U.S.C. § 1114.

                                            9        90.    As set forth above Defendants have engaged in acts of direct
                                           10 infringement by using a sham version of the Mark to sell their products without

                                           11 Plaintiff’s consent.
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                                           12        91.    As set forth above, Defendants, and each of them, are directly liable for
                                           13 the direct acts of infringement committed by them.
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                                           14        92.    Upon information and belief, long after Plaintiff’s adoption and use of
                                           15 the Mark, Defendants have adopted and used in commerce identical or confusingly

                                           16 similar versions of the Mark without Plaintiff’s consent, by way of using a sham copy

                                           17 of the Mark to sell their product, in a manner that infringes upon Plaintiff’s rights in

                                           18 the Mark in violation of 15 U.S.C. § 1114.

                                           19        93.    Without Plaintiff’s consent, Defendants used, and are using in commerce
                                           20 A mark that is confusingly similar to the Mark, a sham version of the Mark, to sell

                                           21 their product in a manner which is likely to cause confusion, or to cause mistake, or

                                           22 to deceive.

                                           23        94.    Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           24 did so with actual knowledge of Plaintiff’s ownership and prior use of the Mark, and

                                           25 with the intent to unfairly compete with Plaintiff, to trade upon Plaintiff’s reputation

                                           26 and goodwill by causing confusion and mistake among customers and the public, and

                                           27 to deceive the public into believing that Defendants’ product is associated with,

                                           28 sponsored by, originate from, or are approved by Plaintiff, when it is not.
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                                            1        95.    Plaintiff is informed and believes, and thereon alleges, that Defendants’
                                            2 activities constitute willful and intentional infringement and counterfeiting of the

                                            3 Mark, directly and/or indirectly, in total disregard of Plaintiff’s proprietary rights, and

                                            4 were done despite Defendants’ knowledge that the use of the Mark was and is in direct

                                            5 contravention of Plaintiff’s rights.

                                            6        96.    Plaintiff is informed and believes, and thereon alleges, that Defendants
                                            7 have derived and received, and will continue to derive and receive, gains, profits, and

                                            8 advantages from the use of the Mark in an amount that is not presently known to

                                            9 Plaintiff. By reason of Defendants’ actions, constituting unauthorized use of the Mark,

                                           10 Plaintiff has been damaged and is entitled to monetary relief in an amount to be

                                           11 determined at trial.
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                                           12        97.    Due to Defendants’ actions, constituting unauthorized use of the Mark,
                                           13 Plaintiff has suffered and continues to suffer great and irreparable injury, for which
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                                           14 Plaintiff has no adequate remedy at law.

                                           15                            SEVENTH CAUSE OF ACTION
                                           16       FEDERAL UNFAIR COMPETITION & FALSE DESIGNATION OF
                                           17                                           ORIGIN
                                           18                                   (15 U.S.C. § 1125(a))
                                           19                                 (Against All Defendants)
                                           20        98.    Plaintiff repeats and re-alleges the allegations of paragraphs 1-97 of this
                                           21 Complaint as if set forth fully herein.

                                           22        99.    This is a claim for unfair competition and false designation of origin
                                           23 arising under 15 U.S.C. § 1125(a).

                                           24        100. As set forth above Defendants have engaged in acts of direct
                                           25 infringement by the use of the Mark without Plaintiff’s consent.

                                           26        101. Defendants’ direct and indirect use of the Mark without Plaintiff’s
                                           27 consent constitutes a false designation of origin, false or misleading description of

                                           28 fact, or false or misleading representation of fact, which is likely to cause confusion,
                                                                                          15
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                                            1 or to cause mistake, or to deceive as to the affiliation, connection, or association of

                                            2 such person with another person, or as to the origin, sponsorship, or approval of his

                                            3 or her goods or commercial activities by another person in violation of 15 U.S.C. §

                                            4 1125(a).

                                            5        102. Defendants’ direct and indirect use of the Mark without Plaintiff’s
                                            6 consent constitutes a false designation of origin, false or misleading description of

                                            7 fact, or false or misleading representation of fact, which in commercial advertising or

                                            8 promotion, misrepresents the nature, characteristics, qualities, or geographic origin of

                                            9 his or her or another person’s goods or commercial activities in violation of 15 U.S.C.

                                           10 § 1125(a).

                                           11        103. Such conduct by Defendants is likely to confuse, mislead, and deceive
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                                           12 Defendants’ subscribers, users, and members of the public as to the origin of

                                           13 Defendants’ merchandise or cause said persons to believe that Defendants and/or their
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                                           14 merchandise have been sponsored, approved, authorized, or licensed by Plaintiff or

                                           15 are in some way affiliated or connected with Plaintiff, when they are not, all in

                                           16 violation of 15 U.S.C. § 1125(a).

                                           17        104. Upon information and belief, Defendants’ actions were undertaken
                                           18 willfully with full knowledge of the falsity of such designation of origin and false

                                           19 descriptions or representations.

                                           20        105. Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           21 have derived and received, and will continue to derive and receive, gains, profits, and

                                           22 advantages from Defendants’ false designation of origin, false or misleading

                                           23 statements, descriptions of fact, or false or misleading representations of fact in an

                                           24 amount that is not presently known to Plaintiff.

                                           25        106. By reason of Defendants’ actions, constituting false designation of
                                           26 origin, false or misleading statements, false or misleading descriptions of fact, or false

                                           27 or misleading representations of fact, Plaintiff has been damaged and is entitled to

                                           28 monetary relief in an amount to be determined at trial.
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                                            1        107. Due to Defendants’ actions, constituting false designation of origin, false
                                            2 or misleading statements, false or misleading description of fact, or false or

                                            3 misleading representations of fact, Plaintiff has suffered and continues to suffer great

                                            4 and irreparable injury, for which Plaintiff has no adequate remedy at law.

                                            5                            EIGHTH CAUSE OF ACTION
                                            6       CALIFORNIA COMMON LAW TRADEMARK INFRINGEMENT
                                            7                                (Against All Defendants)
                                            8        108. Plaintiff repeats and re-alleges the allegations of paragraphs 1-107 of this
                                            9 Complaint as if set forth fully herein.

                                           10        109. This is a claim for trademark infringement, arising under California
                                           11 common law.
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                                           12        110. Defendants’      acts   complained    of   herein   constitute   trademark
                                           13 infringement under California common law. Plaintiff is informed and believes, and
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                                           14 thereon alleges, that Defendants’ acts complained of herein are willful and deliberate

                                           15 and committed with knowledge that Defendants’ unauthorized use of the Mark causes

                                           16 a likelihood of confusion.

                                           17        111. Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           18 have derived and received and will continue to derive and receive, gains, profits and

                                           19 advantages from Defendants’ trademark infringement in an amount that is not

                                           20 presently known to Plaintiff. By reason of Defendants’ wrongful acts as alleged in

                                           21 this Complaint, Plaintiff has been damaged and is entitled to monetary relief in an

                                           22 amount to be determined at trial.

                                           23        112. Due to Defendants’ trademark infringement, Plaintiff has suffered and
                                           24 continues to suffer great and irreparable injury for which Plaintiff has no adequate

                                           25 remedy at law.

                                           26        113. Defendants’ willful acts of trademark infringement under California
                                           27 common law constitute fraud, oppression, and malice. Accordingly, Plaintiff is

                                           28 entitled to exemplary damages.
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                                            1                             NINTH CAUSE OF ACTION
                                            2                      CALIFORNIA UNFAIR COMPETITION
                                            3                                (Against All Defendants)
                                            4        114. Plaintiff repeats and re-alleges the allegations of paragraphs 1-113 of this
                                            5 Complaint as if set forth fully herein.

                                            6        115. This is a claim for unfair competition, arising under California Business
                                            7 & Professions Code § 17200, et seq. Defendants acts of trademark infringement, false

                                            8 designation of origin, complained of herein constitute unfair competition with

                                            9 Plaintiff under the statutory laws of the State of California.

                                           10        116. Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           11 have derived and received, and will continue to derive and receive, gains, revenues
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                                           12 and advantages from Defendants’ unfair competition in an amount that is not

                                           13 presently known to Plaintiff. By reason of Defendants’ wrongful acts as alleged in
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                                           14 this Complaint, Plaintiff has lost out on revenues, in an amount to be determined at

                                           15 trial, which, but for Defendants’ unfair competition, would have gone to Plaintiff.

                                           16        117. By their actions, Defendants have injured and violated the rights of
                                           17 Plaintiff and have irreparably injured Plaintiff, and such irreparable injury will

                                           18 continue unless Defendants are enjoined by this Court.

                                           19                             TENTH CAUSE OF ACTION
                                           20         TRADEMARK INFRINGEMENT BY IMITATING AND FALSE
                                           21                                    ADVERTISING
                                           22                              (15 U.S.C. § 1114(a) and (b))
                                           23                                (Against All Defendants)
                                           24        118. Plaintiff repeats and re-alleges the allegations of paragraphs 1-116 of this
                                           25 Complaint as if set forth fully herein.

                                           26        119. This is a claim for trademark infringement by imitating and false
                                           27 advertising arising under 15 U.S.C. § 1114(a) and (b).

                                           28        120. As set forth above Defendants have engaged in acts of direct
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                                            1 infringement by the use of the Mark without Plaintiff’s consent.

                                            2           121. As set forth above, Defendants, and each of them, are directly liable for
                                            3 the direct acts of infringement committed by them.

                                            4           122. Upon information and belief, long after Plaintiff’s adoption and use of
                                            5 the Mark, Defendants have adopted and used in commerce a mark which is identical,

                                            6 closely resemble, or is substantially indistinguishable from the Mark without

                                            7 Plaintiff’s consent in a manner that infringes upon Plaintiff’s rights in the Mark in

                                            8 violation of 15 U.S.C. § 1114(a).

                                            9           123. Without Plaintiff’s consent, Defendants used in commerce a mark which
                                           10 is identical, closely resemble, or is substantially indistinguishable from the Mark in

                                           11 connection with the promotion, marketing, advertising of their product in a manner
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                                           12 which is likely to cause confusion, or to cause mistake, or to deceive.

                                           13           124. Plaintiff is informed and believes, and thereon alleges, that Defendants
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                                           14 did so with actual knowledge of Plaintiff’s ownership and prior use of the Mark, and

                                           15 with the intent to unfairly compete with Plaintiff, to trade upon Plaintiff’s reputation

                                           16 and goodwill by causing confusion and mistake among customers and the public, and

                                           17 to deceive the public into believing that Defendants’ product is associated with,

                                           18 sponsored by, originate from, or are approved by Plaintiff, when it is not.

                                           19           125. Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           20 acted willfully and intentionally to infringe the Mark, directly and/or indirectly, in

                                           21 total disregard of Plaintiff’s proprietary rights, and were done despite Defendants’

                                           22 knowledge that the use of the Mark was and is in direct contravention of Plaintiff’s

                                           23 rights.

                                           24           126. Plaintiff is informed and believes, and thereon alleges, that Defendants
                                           25 have derived and received, and will continue to derive and receive, gains, profits, and

                                           26 advantages from the use of the Mark in an amount that is not presently known to

                                           27 Plaintiff. By reason of Defendants’ actions, constituting unauthorized use of the Mark,

                                           28 Plaintiff has been damaged and is entitled to monetary relief in an amount to be
                                                                                      19
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                                            1 determined at trial.

                                            2        127. Due to Defendants’ actions, constituting unauthorized use of the Mark,
                                            3 Plaintiff has suffered and continues to suffer great and irreparable injury, for which

                                            4 Plaintiff has no adequate remedy at law.

                                            5                          ELEVENTH CAUSE OF ACTION
                                            6   COMMON LAW UNFAIR COMPETITION & FALSE DESIGNATION OF
                                            7                        ORIGIN; PALMING OR PASSING OFF
                                            8                                (Against All Defendants)
                                            9        128. Plaintiff repeats and re-alleges the allegations of paragraphs 1-126 of
                                           10 this Complaint as if set forth fully herein.

                                           11        129. This is a claim for common law unfair competition and false
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                                           12 designation of origin.

                                           13        130. As set forth above, Plaintiff is informed and believes, and thereon
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                                           14 alleges that Defendants, and each of them, have used a mark which closely resemble

                                           15 and is substantially indistinguishable from the Mark without Plaintiff’s consent.

                                           16        131. In fact, Plaintiff has received communications from its customers and
                                           17 members indicating that they were deceived and confused by the Defendants’ use of

                                           18 a mark which closely resemble and is substantially indistinguishable from the Mark.

                                           19        132. Defendants’ use of a mark which is identical, closely resemble, or is
                                           20 substantially indistinguishable from the Mark without Plaintiff’s consent constitutes

                                           21 a false designation of origin, false or misleading description of fact, or false or

                                           22 misleading representation of fact, which has and is likely to further cause confusion,

                                           23 or to cause mistake, or to deceive as to the source of Defendants’ product.

                                           24        133. Such conduct by Defendants has and is likely to further confuse,
                                           25 mislead, and deceive Plaintiff's and Defendants’ subscribers, users, and members of

                                           26 the public as to the origin of Defendants’ product or cause said persons to believe

                                           27 that Defendants and/or their product has been sponsored, approved, authorized, or

                                           28 licensed by Plaintiff or are in some way affiliated or connected with Plaintiff, when
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                                            1 it is not.

                                            2         134. Upon information and belief, Defendants’ actions were undertaken
                                            3 willfully with full knowledge of the falsity of such designation of origin and false

                                            4 descriptions or representations.

                                            5         135. Plaintiff is informed and believes, and thereon alleges, that Defendants
                                            6 have derived and received, and will continue to derive and receive, gains, profits,

                                            7 and advantages from Defendants’ false designation of origin, false or misleading

                                            8 statements, descriptions of fact, or false or misleading representations of fact in an

                                            9 amount that is not presently known to Plaintiff.

                                           10         136. By reason of Defendants’ actions, constituting false designation of
                                           11 origin, false or misleading statements, false or misleading descriptions of fact, or
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                                           12 false or misleading representations of fact, Plaintiff has been damaged and is

                                           13 entitled to monetary relief in an amount to be determined at trial.
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                                           14         137. Due to Defendants’ actions, constituting false designation of origin,
                                           15 false or misleading statements, false or misleading description of fact, or false or

                                           16 misleading representations of fact, Plaintiff has suffered and continues to suffer

                                           17 great and irreparable injury, for which Plaintiff has no adequate remedy at law.

                                           18                                PRAYER FOR RELIEF
                                           19         WHEREFORE, Plaintiff prays for judgment and relief against Defendants as
                                           20 follows:

                                           21         1.    For actual damages of not less than $1,000,000, pursuant to 15 U.S.C.
                                           22 §1117 and California common law, plus interest according to proof at trial;

                                           23         2.    For the disgorgement of Defendants' profits, pursuant to 15 U.S.C.
                                           24 §1117, and/or in the amount determined to be due from Defendants as a result of

                                           25 such accounting and interest thereon at the legal rate;

                                           26         3.    For treble damages of the foregoing damages associated with the
                                           27 registered trademark;

                                           28         4.    In lieu of the foregoing damages under 15 For attorney’s fees pursuant
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                                            1 to 15 U.S.C. § 1117, as related to counterfeiting, statutory damages, if Plaintiff so

                                            2 chooses to make such election;

                                            3         5.    For attorney’s fees and costs pursuant to 15 U.S.C. § 1117;
                                            4         6.    For actual damages of not less than $1,000,000, pursuant to 17 U.S.C.
                                            5 §504, and California common law, plus interest according to proof at trial;

                                            6         7.    For the disgorgement of Defendants' profits, pursuant to 17 U.S.C.
                                            7 §504, and/or in the amount determined to be due from Defendants as a result of such

                                            8 accounting and interest thereon at the legal rate;

                                            9         8.    In lieu of the foregoing damages under 17 U.S.C. §504, statutory
                                           10 damages, if Plaintiff so chooses to make such election;

                                           11         9.    For general and consequential damages of not less than $1,000,000,
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                                           12 according to proof at trial;

                                           13         10.   For attorney’s fees and costs pursuant to 17 U.S.C. §505;
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                                           14         11.   An injunction restraining and enjoining Defendants from the continued
                                           15 false and misleading advertising pursuant to 15 U.S.C. § 1116, infringement of

                                           16 Plaintiff’s copyrights, and fraud;

                                           17         12.   For costs of suit incurred herein;
                                           18         13.   For an accounting;
                                           19         14.   For restitution;
                                           20         15.   For the imposition of constructive trust for all sums found due and
                                           21 owing to Plaintiff;

                                           22         16.   For the appointment of a receiver to take possession of the constructive
                                           23 trust, and all books, reports, and records pertaining to the amounts owed to Plaintiff;

                                           24         17.   For interest on amounts due and owing;
                                           25         18.   For costs of suit incurred; and
                                           26 / / /

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                                                             BOOST BEAUTY, LLC, THIRD AMENDED COMPLAINT FOR DAMAGES
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                                            1        19.   For such other relief the court deems proper.
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                                            5
                                                Dated: November 13, 2018          By: /s/ Dariush G. Adli
                                            6                                         Dariush G. Adli, Esq.
                                            7                                         Drew H. Sherman, Esq.
                                                                                      Attorneys for Plaintiff
                                            8                                         Boost Beauty, LLC
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                                            1                            DEMAND FOR JURY TRIAL
                                            2        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a jury trial
                                            3 of any issues in this action so triable.

                                            4

                                            5 Respectfully Submitted,

                                            6

                                            7 DATED: November 13, 2018                   ADLI LAW GROUP PC
                                            8

                                            9
                                                                                         BY: /s/ Dariush G. Adli
                                                                                             Dariush Adli, Esq.
                                           10                                                Drew H. Sherman, Esq.
                                           11
                                                                                             Attorneys for Plaintiff
                                                                                             Boost Beauty, LLC
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                                            1                            CERTIFICATE OF SERVICE
                                            2        I hereby certify that I electronically filed the foregoing documents with the
                                            3 Clerk of the Court for the United States District Court for the Central District of

                                            4 California by using the CM/ECF system on November 13, 2018:

                                            5        FIRST AMENDED COMPLAINT FOR DAMAGES
                                            6        Participants in the case who are registered CM/ECF users will be served by the
                                            7 CM/ECF System.

                                            8        I certify under penalty of perjury that the foregoing is true and correct.
                                            9 Executed November 13, 2018 at Los Angeles, California.

                                           10

                                           11
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                                           12
                                                                                      BY: /s/ Drew H. Sherman
                                                                                          Drew H. Sherman, Esq.
                                           13
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                                                                                CERTIFICATE OF SERVICE
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